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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                           CASE NO. 09-23097-CIV-COOKE/WHITE

  GUILLERMO SALCEDO,

         Petitioner,

  v.

  UNITED STATES OF AMERICA,

        Respondent.
  __________________________________/

       ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION

         THIS MATTER was referred to the Honorable Patrick A. White, United States Magistrate

  Judge, for a Report and Recommendation on Plaintiff Guillermo Salcedo's Petition for Writ of Error

  Coram Nobis [D.E. 1]. Judge White issued a Report and Recommendation [D.E. 4], recommending

  that this case be dismissed. As the movant did not file any objections to the Report and

  Recommendation, I ORDER AND ADJUDGE that United States Magistrate Judge Patrick A.

  White’s Report and Recommendation is AFFIRMED AND ADOPTED as follows:

         1.      This case is DISMISSED.

         2.      This clerk shall CLOSE this case.

         3.      All pending motions are DENIED AS MOOT.

         DONE AND ORDERED in Chambers at Miami, Florida this 29th day of December 2009.
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  Copies furnished to:

  The Honorable Patrick A. White

  All counsel of record


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